
80 N.Y.2d 1022 (1992)
John H. Park et al., Appellants,
v.
Capital Cities Communication, Inc., et al., Defendants, and Kenneth V. Klementowski et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 28, 1992.
Decided November 24, 1992.
Motion by defendant Buffalo Ophthalmologic Society to dismiss appeal taken as of right against said defendant granted and appeal dismissed, without costs, upon the ground that, as to that defendant, the order appealed from does not finally determine the action within the meaning of the Constitution. Motion by defendant Klementowski to dismiss appeal taken as of right against said defendant granted and appeal dismissed, without costs, upon the ground that, as to that defendant, no substantial constitutional question is directly involved.
